Case 2:O4-cv-O2198-BBD-dkv Document 28 Filed 05/03/05 Page 1 of 2 Pa e|D 26

 

 

IN THE UNITED STATES DISTRICT COURT - \_y:{) ES"§" _ D.C.
FOR THE WESTERN DISTRICT OF 'I`ENNESSE[|§)l
WESTERN DIVISION 05 ram _,3 PM 21 26
. -- ~‘.: !¢"\
want et
DIXIE ELECTRICAL MANUFACTURING ) \(,\;'L€:€F‘ll,f] ‘i\_'j§N-;p;_jgg
COMPANY, ) ' '
)
Plaintiffs, )
)
v. ) No. 04-2198 D/V
)
FASTEEL CORPORATION dfb/a )
FOUNDATION TECHNOLOGY, INC., )
RICHARD RUIZ, LLC, AND RICHARD )
RUIZ, individually, )
)
Defendants. )
)

 

ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is PlaintiffDixie Electrical Manufacturing Company’s (“Plaintiff’) motion
(dkt. # 20) for Summary judgment against Fasteel Corporation d/b/a Foundation Technology, lnc.
(“Fasteel”). Fasteel does not oppose Plaintift"s motion and consents to have judgment entered
against it. Thus, the Court GRANTS Plaintiff"S motion for Summary judgment as to Defendant

Fasteel .

1T is So 0RI)ERE1) this gmc day ofMay, 2005.

 

NITED STATES DISTRICT JUDGE

Th|s document entered on the docket s/heet ln c?pllance
with ama 58 and/or maj FRCP on b v "

§lf

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02198 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

ESSEE

 

Robert E. Craddock

WYATT TARRANT & CO1\/IBS
P.O. Box 775000

1\/1emphis7 TN 38177--500

J. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Eric J. Plumley

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Scott B. OStroW

WYATT TARRANT & CO1\/IBS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Aaron R. Parker

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

